Case 8:17-cv-00496-SCB-AAS Document 18 Filed 06/29/17 Page 1 of 2 PageID 115



                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

VICTORIA WILLIAMS-MIRTH,

                     PLAINTIFF

V.
                                                 Case No. 8:17-cv-00496-SCB-AAS
CAPITAL ONE BANK (USA), N.A.,

                     DEFENDANT.

_______________________________/

      JOINT NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff voluntarily dismisses with prejudice her Amended Complaint, pursuant to

Federal Rules of Civil Procedure 41(a)(1)(A)(ii) with each party bearing its or her own

attorney’s fees and costs.

Respectfully Submitted,


s/ Stephen J. Bagge                     s/ Joshua H. Threadcraft
Stephen J. Bagge                        Joshua H. Threadcraft (96153)
STEPHEN J. BAGGE, P.A.                  Joshua.Threadcraft@burr.com
3902 Henderson Blvd.                    Megan P. Stephens (92557)
Suite 208-30                            Megan.Stephens@burr.com
Tampa, Florida 33629                    BURR & FORMAN LLP
sbagge@baggelaw.com                     420 N. 20th Street, Suite 3400
Attorney for Plaintiff                  Birmingham, AL 35203
                                        Telephone: 205-251-3000
                                        Facsimile: 205-413-8701
                                        Attorneys for Defendant Capital One Bank
                                        (USA), N.A.
Case 8:17-cv-00496-SCB-AAS Document 18 Filed 06/29/17 Page 2 of 2 PageID 116




                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was submitted

to the Clerk of the Court via CM/ECF, which furnished copies to all counsel of record on

June 29, 2017.

 /s/ Stephen J. Bagge
